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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        Case No. 21-21214-Civ-COOKE/O’SULLIVAN

  LUCAS ALCALA
  and all others similarly situated under 29
  U.S.C. 216(b),

         Plaintiff,

  vs.

  NPEE L.C., ANDREW SERAFINE, and
  ERIK AGAZIM,

        Defendants.
  _________________________________________/
                         ORDER OF DISMISSAL WITH PREJUDICE
         THIS MATTER is before me upon Judge O’Sullivan’s Order (ECF No. 15),
  approving the parties’ settlement agreement and recommending that the case be dismissed
  with prejudice.     Judge O’Sullivan’s Order also recommends that the Court retain
  jurisdiction, until August 30, 2021, to enforce the terms of the parties’ agreement.
         Accordingly, it is ORDERED and ADJUDGED that the parties’ agreement is
  approved, and the case is DISMISSED with prejudice. This Court shall retain jurisdiction
  until August 30, 2021 to enforce the terms of the agreement. The Clerk of Court shall
  CLOSE this case. All pending motions, if any, are DENIED as moot.
         DONE and ORDERED in Chambers at Miami, Florida, this 16th day of July 2021.




  Copies furnished to:
  John J. O’Sullivan, Chief U.S. Magistrate Judge
  Counsel of record
